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James Blocker
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March 7, 2018

Honorable Amy Totenberg

United States District Judge

2388 Richard B. Russell Federal Building and United States Courthouse
75 Ted Turner Drive, SW

Atlanta, GA 30303-3309

Your Honor,

l'm writing this letter in apology and regret for the actions and decisions that led me to your courtroom.
I know, looking back, that I allowed my boredom and need for a challenge to lead me down a
dangerous path.

When l was initially approached by Nicholas Narbone to help develop this website, I was at a point in
my personal life where I had too much free time and nothing to fill it. When l accepted his offer, l
entered into an agreement to create a content management system for Android applications By the time
l realized the true intent of Mr. Narbone's website, I was committed to the project and enjoying the
challenge. While it didn't set well with me, morally, l was too far into the process to just Walk away. l
didn't weigh the potential consequences and, really didn't even think there could be any.

My part in the development of this website was Wrong and should never have happened As soon as l
realized what Mr. Narbone was planning to use the website for, I should have turned my back and

walked away, By not doing that, l disgraced my name, my reputation and, most importantly, my family.

During my teenage years, events occurred that strained my relationship with my parents. l left their
horne to live on my own when l was only 17 years old. lt took a lot of years, and much needed
maturity, to help us mend our relationship l'm proud to say that, today, l know my parents love and
respect me for the person l have become. l was open with my entire family from the very beginning
about my indictment and the potential consequences My parents have lived for four years with the
threat of my spending time in prison. l know that they will love me and support me no matter what, but
l am deeply sorry for the stress I put them through.

I met and married with my now eX-wife before l was indicted. l was honest with her from the first

about the Whole situation With Mr. Narbone and the fact that l Was under investigation by the FBI.
Luckily for me, she loved me enough for it not to matter. l was indicted right before our lst anniversary
and we spent the next three years living with the stress and Worry of not knowing the outcome of this
case hanging over our marriage. In the end, it was too much pressure and our marriage couldn‘t survive.
I lost the woman that l still love and it's my own fault. Every day I grieve and have to live with that
regret weighing me down.

l didn't tell my son anything about my indictment until late last summer. He had enough to worry about
just being a kid struggling with a learning disorder that I did not want to add to his load. When l
decided to change my plea and knew that I could be facing a prison sentence, I realized that it Was time

to explain everything to Bert. He is such an amazing kid - when l sat him down to talk to him about

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this, he listened intently, asked a few questions and told me he loved me l\/ly Son, even at 113-years old,
accepted that l had made a large error in judgment and that because of that we might have to be
separated for awhile But he made it clear that he wanted to keep having his Weekends at my house so
that he could see me whenever possible Bert has truly taught me the meaning of unconditional love in
the months since that conversation More than anything else, more than anyone else l might have hurt,
l'm sorry most of all for the affect my sentence will have on Bert. He‘s at an age where he needs me
more than ever, financially, emotionally and physically The fact that I won‘t be able to be there for him
on a daily basis causes me the greatest sorrow of anything else

At the time of my interactions with AppBucket and Nicholas Narbone, l was only concerned with
casing my boredom, challenging my mind and skills, and the potential to earn Significant extra income
If I had it to do over again, l would have put my skills to better use and found something positive and
enriching to do With my time l have spent the last several years Working toward making myself a
better person. l'm trying to teach my son all the different ways computers can be used for good. I‘ve
worked for the same company, in different capacities, since 2014. I‘ve spent time learning new skills
and also teaching others these same skills. Every day, l do my best to find small ways to give back to
the world around me in an effort to make up for the bad decisions that have led me to this point. l'm
determined to live the rest of my life to the letter of the law, making positive contributions to society
and doing everything possible to make my son and parents proud of me.

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